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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                             CASE NO.: 6:19-cv-01484-CEM-LRH


 LOGAN BACHSTEIN, an individual,

        Plaintiff,
                                                     DEFENDANT’S AGREED MOTION FOR
 v.                                                  LEAVE TO FILE REPLY TO
                                                     PLAINTIFF’S OPPOSITION TO
 DISCORD, INC., a for-profit corporation             DEFENDANT’S MOTION TO TRANSFER
                                                     OR, IN THE ALTERNATIVE, DISMISS
        Defendant.                                   PLAINTIFF’S COMPLAINT



       Defendant, Discord, Inc. (“Discord”), by and through its undersigned counsel, and pursuant

to Local Rule 3.01(c), respectfully requests leave to file a reply to Plaintiff’s Opposition to

Defendant’s Motion to Transfer or, in the Alternative, Dismiss (the “Opposition”) [D.E. 19] no

longer than eight (8)-pages, and as grounds therefore states as follows:

       1.      On September 23, 2019, Discord filed a “Motion to Transfer, or in the Alternative,

Dismiss Plaintiff’s Complaint [D.E 1]” (the “Motion”). See Motion [D.E. 14]. Discord argued

that this action should be transferred to the Northern District of California based on the forum

selection clause in Discord’s Terms of Service (“Terms”). Discord argued alternatively that the

Complaint should be dismissed because: (1) Plaintiff has not pled personal jurisdiction over

Discord; (2) Plaintiff’s claims are barred by the Communications Decency Act, 47 U.S.C. §

230(c)(1) (“CDA”); and (3) Plaintiff fails to state a viable claim against Discord.

       2.      On October 14, 2019, Plaintiff filed his Opposition [D.E. 19].

       3.      Additional briefing is proper when needed to correct “‘mischaracterizations of fact

and erroneous suggestions regarding the applicable law.’” Pattar v. Secretary, Dep’t of State, No.

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6:16-cv-1015-OrL-37DAB, 2016 WL 5415306, at *2 (M.D. Fla. Sept. 28, 2016). Further, “[t]he

purpose of a reply brief is to rebut any new law or facts contained in the opposition’s response to

a request for relief before the Court.” Allied Portables, LLC v. Youmans, No. 2:15-CV-294-FTM-

38CM, 2016 WL 7428229, at *1 (M.D. Fla. Oct. 19, 2016) (internal quotation marks and citation

omitted). And additional briefing is appropriate when an “argument warrant[s] further analysis.”

Essex Builders Grp., Inc. v. Amerisure Ins. Co., 429 F. Supp. 2d 1274, 1277 (M.D. Fla. 2005). As

discussed below, additional briefing is proper and necessary here.

       4.      First, Plaintiff’s Opposition mischaracterizes the law regarding the CDA. For one,

Plaintiff is incorrect that “factual issues preclude a ruling on the CDA issue at this stage of the

case.” [D.E. 19 at 9.] See, e.g., Dowbenko v. Google Inc., 582 F. App'x 801, 805 (11th Cir. 2014)

(affirming dismissal of defamation claim pursuant to Rule 12(b)(6) on CDA immunity grounds).

Moreover, Plaintiff introduces inapposite case law to confuse the applicability of the CDA. [D.E.

19 at 9-10.] Plaintiff’s arguments regarding the CDA warrant further analysis.

       5.      Second, Plaintiff mischaracterizes his own allegations and the facts regarding

Discord’s Terms. Plaintiff advances misleading arguments that (1) this dispute falls outside of the

Terms because “Duke” accessed his computer off the platform; (2) a completely separate provision

in the Terms regarding Apple devices somehow limits the separate “General” section containing

the forum selection clause; and (3) Discord fails to explain how Plaintiff can be bound by an

agreement with Hammer & Chisel, although Discord has provided an explanation. [D.E. 19 at 3-

5.] Discord should be permitted to correct the record.

       6.      Third, Plaintiff makes erroneous suggestions regarding the law applicable to

transfer under Section 1404. [D.E. 19 at 5]. Contrary to Plaintiff’s claim, Discord addressed the

public interest factors, and the private factors are irrelevant to the analysis. See Carrigg v. Gen.



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R.V. Ctr., Inc., No. 3:18-CV-654-J-34PDB, 2018 WL 5904447, at *4 (M.D. Fla. Nov. 9, 2018)

(“[T]he Supreme Court has directed that when parties have agreed to a mandatory forum selection

clause, the court’s analysis is significantly narrowed...a court considers only arguments about

public-interest factors which rarely will be sufficient to defeat a motion to transfer to....”). Discord

seeks leave to clarify and further analyze the law and its position on transfer.

        7.      Fourth, Plaintiff raises a new basis for personal jurisdiction, arguing that Discord

has sufficient minimum contacts with Florida because “it markets and advertises its platforms and

services to Florida citizens” and “has at least 24 servers or chatrooms with Florida tags.” [D.E. 19

at 6-7.] In support, Plaintiff misleadingly cites to a number of websites that have no connection to

this dispute. Moreover, Plaintiff inappropriately suggests that Discord rather than Plaintiff has the

burden to establish personal jurisdiction. United Techs. Corp. v. Mazer, 556 F.3d 1260, 1274 (11th

Cir. 2009). Discord requests leave to address these new facts and arguments.

        8.      Finally, Plaintiff contends, without support, that he has alleged that Duke was

employed by Discord because Discord allegedly paid him for referrals. This is not sufficient to

allege an employment relationship. See, e.g., Carlson v. FedEx Ground Package Sys., Inc., 787

F.3d 1313, 1318-19 (11th Cir. 2015). Discord seeks leave to clarify the law and facts on this point.

        For the foregoing reasons, Discord seeks leave to file a Reply no longer than eight (8) pages

to Plaintiff’s Opposition, no later than seven (7) days from the granting of such request.

                                  Local Rule 3.01(g) Certification

        Prior to filing this Motion for Leave to File Reply, the undersigned counsel for Defendant

conferred with counsel for Plaintiff in a good faith effort to resolve the issues raised herein.

Counsel for Plaintiff AGREES to the relief sought herein.




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Dated: October 18, 2019                                    Respectfully submitted,

                                                             /s/ Lawren A. Zann
                                                           Beth-Ann E. Krimsky, Esq.
                                                           Fla. Bar No. 968412
                                                           Lawren A. Zann, Esq.
                                                           Fla. Bar No. 42997
                                                           GREENSPOON MARDER, LLP
                                                           200 East Broward Boulevard
                                                           Suite 1800
                                                           Tel: (954) 527-2427
                                                           Fax: (954) 333-4027
                                                           beth-ann.krimsky@gmlaw.com
                                                           lawren.zann@gmlaw.com

                                                           -and-

                                                           Julie E. Schwartz, Esq.
                                                           Pro Hac Vice Admitted
                                                           PERKINS COIE LLP
                                                           3150 Porter Drive
                                                           Palo Alto, CA 93404
                                                           Tel: (650) 838-4490
                                                           Fax: (650) 838-4690
                                                           jschwartz@perkinscoie.com

                                                           Attorneys for Discord, Inc.

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 18, 2019, I electronically filed the foregoing Motion

for Leave to File Reply using the CM/ECF system, which foregoing document is also being served

this date on all counsel of record via transmission of Notices of Electronic Filing generated by

CM/ECF.

                                                            /s/ Lawren A. Zann
                                                           Lawren A. Zann




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